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        UNITED STATES DISTRICT COURT
        EASTERN DISTRICT OF NEW YORK

        SPEEDFIT LLC and AUREL A. ASTILEAN, )
                                            )
                   Plaintiffs,              )  Case No. 2:13-cv-01276 (KAM) (AKT)
                                            )
             vs.                            )  NOTICE OF WOODWAY USA, INC.’S
                                            )     MOTION TO PRECLUDE THE
        WOODWAY USA, INC.,                  )     TESTIMONY OF PLAINTIFFS’
                                            ) DAMAGES EXPERT DAVID WANETICK
                   Defendant.               )
                                            )

        TO:        Thomas B. Decea
                   Fishman & Decea
                   84 Business Park Drive, Suite 200
                   Armonk, New York 10504

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                   Law Office of John Vodopia, PC
                   191 New York Avenue
                   Huntington, New York 11743

                   Patrick M. Ardis
                   R.H. “Chip” Chockley
                   Wolff Ardis, P.C.
                   5810 Shelby Oaks Dr.
                   Memphis, TN 38134


                          PLEASE TAKE NOTICE that the undersigned attorneys for Defendant Woodway

        USA, Inc. (“Woodway”) will move this Court before the Honorable Kiyo A. Matsumoto, United

        States District Judge, at the Brooklyn Federal Courthouse, 225 Cadman Plaza East, Brooklyn,

        New York 11201, as soon as it may be heard, for (a) an Order granting Woodway’s Motion to

        Preclude the Testimony of Plaintiffs’ Damages Expert David Wanetick and (b) such other relief

        as this Court may deem just and proper.

                          This Motion, made pursuant to Fed. R. Evid. 702 & 703, and Fed. R. Civ. P. 26 &

        37, will be based upon the accompanying Memorandum of Law, the Declaration of Kadie M.



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        Jelenchick and Exhibits, all prior pleadings and proceedings had herein, and such additional oral

        or documentary evidence as may be received prior to or at a hearing on this Motion.

                      PLEASE TAKE FURTHER NOTICE that, pursuant to the text-only June 17,

        2018 Scheduling Order, any responsive briefing shall be served no later than August 1, 2018.

        Woodway’s reply in support of its Motion to Preclude the Testimony of Plaintiffs’ Damages

        Expert David Wanetick shall be served no later than August 8, 2018. A complete set of

        Woodway’s papers will be filed with the Court on August 8, 2018, and two courtesy copies will

        be provided to chambers.



        Dated: July 11, 2018                            Respectfully submitted,

                                                        /s/ Kadie M. Jelenchick
                                                        Jeffrey N. Costakos, admitted pro hac vice
                                                        Kadie M. Jelenchick, admitted pro hac vice
                                                        Matthew W. Peters, admitted pro hac vice
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                                                        Counsel for Defendant and Counterclaim-
                                                        Plaintiff Woodway USA, Inc.




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                                       CERTIFICATE OF SERVICE

                       I, Matthew W. Peters, an attorney with Foley & Lardner LLP, hereby certify that

        on July 11, 2018, I caused the foregoing Notice of Woodway USA, Inc.’s Motion to Preclude the

        Testimony of Plaintiffs’ Damages Expert David Wanetick to be served by electronic mail upon

        counsel of record.


                                                          /s/ Matthew W. Peters
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